          Case 19-01233            Doc 13       Filed 11/10/19 Entered 11/10/19 23:49:01                         Desc Imaged
                                               Certificate of Notice Page 1 of 3
                                               United States Bankruptcy Court
                                                 Northern District of Iowa
In re:                                                                                                     Case No. 19-01233-TJC
Adam Edward Burken                                                                                         Chapter 7
Kimberly Ann Burken
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0862-2                  User: admin                        Page 1 of 2                          Date Rcvd: Nov 08, 2019
                                      Form ID: 2040                      Total Noticed: 23


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 10, 2019.
db/jdb          +Adam Edward Burken,    Kimberly Ann Burken,    1848 Amelia Dr,    Dubuque, IA 52001-8324
cr               First Central State Bank,    P.O. Box 119,    DeWitt, IA 52742-0119
2255939         +ASC/PNC Bank,    6805 Vista Drive,   Ashford l Building,     West Des Moines, IA 50266-9307
2255941         +Best Buy/CBNA,    Attn: Bankruptcy Dept.,    PO Box 6497,    Sioux Falls, SD 57117-6497
2255945         +DuTrac CCU,    Attn: Bankruptcy Dept.,    3465 Asbury Rd.,    Dubuque, IA 52002-2845
2255946         +Equifax,    Attn: Bankruptcy Dept.,    P.O. Box 740241,    Atlanta, GA 30374-0241
2255947         +Experian,    Attn: Bankruptcy Dept.,    P.O. Box 2002,    Allen, TX 75013-2002
2255948         +First Central State Bank,    914 6th Ave,    De Witt, IA 52742-1331
2259343       +++First Central State Bank,    c/o Douglas R. Lindstrom, Jr.,     220 N. Main Street, Suite 600,
                  Davenport, IA 52801-1953
2255953          Transunion,    Attn: Bankruptcy Dept.,    P.O. Box 1000,    Crum Lynne, PA 19022
2255955         +US Dept of Education,    2401 International,    PO Box 7859,    Madison, WI 53707-7859

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QSLSCHNITTJER.COM Nov 09 2019 03:13:00       Sheryl Schnittjer,    24695 207th Ave.,
                 Delhi, IA 52223-8414
cr             +EDI: PRA.COM Nov 09 2019 03:13:00      PRA Receivables Management, LLC,     PO Box 41021,
                 Norfolk, VA 23541-1021
2255940        +E-mail/Text: bknotices@bankofthewest.com Nov 08 2019 22:15:01        Bank of the West,
                 13505 California St.,   Omaha, NE 68154-5247
2255942        +EDI: CITICORP.COM Nov 09 2019 03:13:00       CitiCards CBNA,    Attn: Bankruptcy Dept.,
                 PO Box 6241,   Sioux Falls, SD 57117-6241
2255943         E-mail/Text: speterson@collinscu.org Nov 08 2019 22:15:00        Collins Community Credit Union,
                 PO Box 10500,   Cedar Rapids, IA 52410-0500
2255944         EDI: DISCOVER.COM Nov 09 2019 03:13:00       Discover Financial Services LLC,
                 Attn: Bankruptcy Dept.,    PO Box 15316,    Wilmington, DE 19850
2255949        +EDI: CHASE.COM Nov 09 2019 03:13:00       JPMCB Card Services,    PO Box 15369,
                 Wilmington, DE 19850-5369
2255950        +EDI: NAVIENTFKASMSERV.COM Nov 09 2019 03:13:00       Navient,    123 Justison St 3rd Floor,
                 Wilmington, DE 19801-5363
2255951        +E-mail/Text: electronicbkydocs@nelnet.net Nov 08 2019 22:15:00        Nelnet,    PO Box 82561,
                 Lincoln, NE 68501-2561
2255952        +EDI: RMSC.COM Nov 09 2019 03:13:00      SYNCB/Sam’s,    Attn: Bankruptcy Dept.,     PO Box 965005,
                 Orlando, FL 32896-5005
2256067        +EDI: RMSC.COM Nov 09 2019 03:13:00      Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
2255954        +E-mail/Text: wepkingc@uwplatt.edu Nov 08 2019 22:15:03        U.W. Platteville,    1 University Plz,
                 Platteville, WI 53818-3099
                                                                                                TOTAL: 12

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’+++’ were transmitted to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(e).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 10, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
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                              Form ID: 2040               Total Noticed: 23


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 8, 2019 at the address(es) listed below:
              Douglas Robert Lindstrom, Jr.    on behalf of Creditor   First Central State Bank
               dlindstrom@l-wlaw.com, kmefferd@l-wlaw.com
              Dustin Abraham Baker    on behalf of Debtor Adam Edward Burken dustin@henkelsbaker.com,
               dustin@henkelsbaker.com;hillary@henkelsbaker.com;margaret@henkelsbaker.com;office@henkelsbaker.co
               m;bakerdr45649@notify.bestcase.com
              Dustin Abraham Baker    on behalf of Joint Debtor Kimberly Ann Burken dustin@henkelsbaker.com,
               dustin@henkelsbaker.com;hillary@henkelsbaker.com;margaret@henkelsbaker.com;office@henkelsbaker.co
               m;bakerdr45649@notify.bestcase.com
              Sheryl Schnittjer     delhisls926@gmail.com, sschnittjer@ecf.axosfs.com
              United States Trustee    USTPRegion12.CR.ECF@usdoj.gov
                                                                                             TOTAL: 5
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Form ntcfclms


                         UNITED STATES BANKRUPTCY COURT
                                 Northern District of Iowa
In Re:                                                      Chapter: 7
                                                            Case No.: 19−01233
                                                            Office Code: 2
Adam Edward Burken

Kimberly Ann Burken



 Debtor(s)

                                 NOTICE OF POSSIBLE DIVIDEND AND
                           NOTICE OF DEADLINE FOR FILING TIMELY CLAIMS


TO ALL CREDITORS AND PARTIES IN INTEREST:

Notice was previously given that it appeared that there were no assets in the bankruptcy estate from which a dividend
could be paid to unsecured creditors. Creditors were advised at that time that it was unnecessary to file proofs of
claim.

It now appears that there may be assets in excess of the costs of administration and that payment of a dividend is
possible. In order to receive a dividend, a creditor must file a proof of claim.

A Proof of Claim form can be filed electronically by completing the online electronic Proof of Claim (ePOC) found
on our public web site (www.ianb.uscourts.gov) or obtain the Official Form B410 at the United States Courts Web
site (www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) and mail the completed form to the address
appearing below.

If you want to file a TIMELY claim against the estate, you must file your proof of claim with the Clerk of Court

                                              ON OR BEFORE 2/10/20



If you have already filed a proof of claim, there is no need to file again unless you wish to amend your claim.


Dated: 11/8/19

                                                            MEGAN R. WEISS
                                                            Clerk, U.S. Bankruptcy Court
                                                            111 Seventh Avenue SE #15
                                                            Cedar Rapids, IA 52401−2101
